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 6   Attorneys for John Beach, Trustee of the
     Beach Living Trust dated January 22, 1999
 7
                               UNITED STATES BANKRUPTCY COURT
 8                                    DISTRICT OF NEVADA
 9    In re:                                                   Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
10    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
11
            Affects AT EMERALD, LLC                           Case No.: BK-N-14-50331-btb
12          Affects all Debtors                               Chapter: 11
13                                                             NOTICE OF CONTINUED 2004
                                                               EXAMINATION OF THE PERSON
14                                                             MOST KNOWLEDGEABLE OF
                                                               THE SARASOTA VAULT
15
                                                               Continued Date: August 13, 2014
16                                                             Continued Time: 9:30 a.m. EST

17

18   TO: ALL PARTIES IN INTEREST

19               NOTICE IS HEREBY GIVEN that the 2004 Examination of the Person Most

20   Knowledgeable of the Sarasota Vault, upon oral examination pursuant to Federal Rule of

21   Bankruptcy Procedure 2004, previously scheduled for August 12, 2014 at 9:00 a.m. EST at the

22   Sarasota Vault, located at 640 South Washington Blvd., Suite 125, Sarasota, Florida 34236,

23   has been continued to August 13, 2014 at 9:30 a.m. EST.

24             Dated this 6th day of August, 2014.

25                                          HOLLAND & HART LLP
                                                  /s/ Joseph G. Went
26                                          By:_______________________
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27                                             Joseph G. Went, Esq. (9220)
28                                               Page 1 of 1

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